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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                      )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
 v.                                                       )   Case No. 4:17-cv-00454-GKF-JFJ
                                                          )
 1) CASTLE HILL STUDIOS LLC                               )
    (d/b/a CASTLE HILL GAMING);                           )
 2) CASTLE HILL HOLDING LLC                               )
    (d/b/a CASTLE HILL GAMING); and                       )
 3) IRONWORKS DEVELOPMENT, LLC                            )
    (d/b/a CASTLE HILL GAMING)                            )
                                                          )
                   Defendants.                            )

                  PLAINTIFF’S SECOND NOTICE REGARDING MOTION TO COMPEL
                                        DISCOVERY

             Plaintiff Video Gaming Technologies, Inc. (“VGT”) submits this further notice to apprise

      the Court of additional developments relating to the disputed issues in VGT’s Motion to Compel

      (“Motion”) (ECF No. 105) that have occurred since VGT filed its previous notice (ECF No. 113).

             This morning Defendants submitted additional supplemental interrogatory responses,

      including with respect to Interrogatory No. 22. Following receipt of these responses, VGT asked

      Defendants to confirm that their “supplemental responses to Interrogatory Nos. 22 and 23 and

      Request for Production Nos. 39, 40, 41 and 43 reflect all responsive information that Defendants

      have and that Defendants will not be relying on any information that is responsive to those requests

      that Defendants have withheld.” Defendants responded as follows: “We can confirm that we did

      not withhold information in response to these requests, and that the supplemental responses are

      complete based on what we have and know at this time. The one caveat is we did intend to
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   supplement the interrogatory asking about affirmative defenses based on the answer filed last

   night.”

             Based on VGT’s understanding that Defendants have provided the confirmation VGT

   requested, VGT believes the hearing scheduled for this afternoon on the motion to compel can be

   cancelled.

             August 2, 2018                   Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on August 2, 2018, I caused a copy of the foregoing to be served on

   the following counsel for Defendants, who have consented to email service, via email:

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